Case
   Case
     4:15-cv-00430-ALM-CAN
         4:17-cv-00240-ALM Document
                            Document3 68Filed
                                           Filed
                                              04/10/17
                                                 03/15/16Page
                                                           Page
                                                              1 of1 5ofPageID
                                                                        5 PageID
                                                                              #: #:
                                                                                 35 916



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 NICHOLAS D. MOSSER,                               §
 On behalf of himself,                             §
 and all others similarly situated,                §
                                                   §
        Plaintiff,                                 §
                                                   §
 v.                                                §     CAUSE NO. 4:15-CV-00430-ALM
                                                   §
 AETNA LIFE INSURANCE COMPANY                      §
 AND EHEALTH INSURANCE SERVICES                    §
 INC.,                                             §
                                                   §
        Defendants.                                §

                     AETNA’S ANSWER TO EHEALTH’S CROSSCLAIM

        Defendant Aetna Life Insurance Company (“Aetna”) answers the Crossclaim of eHealth

 Insurance Services Inc. (“eHealth”) as follows. Except as otherwise expressly admitted herein,

 Aetna denies each and every allegation in the Crossclaim. Aetna has conducted a reasonable

 investigation into eHealth’s allegations, and into the underlying allegations of Plaintiff, but its

 investigation continues; thus while Aetna presently lacks knowledge or information sufficient to

 form a belief about the truth of some allegations, its investigation may later reveal additional

 information.

                                            I.
                                RESPONSES TO ALLEGATIONS

        1.      Aetna admits that eHealth provided users of its website access to information or

 content created by Aetna with respect to the insurance policies offered by Aetna. Aetna lacks

 knowledge or information sufficient to form a belief about the truth of the remaining allegations

 in this paragraph, and therefore denies those allegations.

        2.      Aetna admits that Plaintiff alleges that certain information he received was false



 AETNA’S ANSWER TO EHEALTH’S CROSSCLAIM           1
Case
   Case
     4:15-cv-00430-ALM-CAN
         4:17-cv-00240-ALM Document
                            Document3 68Filed
                                           Filed
                                              04/10/17
                                                 03/15/16Page
                                                           Page
                                                              2 of2 5ofPageID
                                                                        5 PageID
                                                                              #: #:
                                                                                 36 917



 or deceptive in certain respects, and/or that said information failed to disclose information

 necessary in order to make the statements not misleading.             Plaintiff has not identified all

 information that forms the basis of his claims, and continues to attempt to amend and add to

 those claims. Aetna thus lacks knowledge or information sufficient to form a belief about the

 truth of the remaining allegations in this paragraph, and therefore denies those allegations.

          3.       No response is required to the allegations in this paragraph, which are legal

 conclusions.

          4.       Aetna admits that eHealth has denied that any of Plaintiff’s allegations pertaining

 to the policy information contained on eHealth’s with respect to the Aetna Policy was false,

 misleading, or deceptive; that there is any validity to any of Plaintiff’s claims and allegations in

 this case; or that there is any basis in law or fact to support any liability against eHealth or Aetna.

 Aetna denies that eHealth is or will be entitled to contribution and/or indemnification from Aetna

 for any sums eHealth is required to pay as a result of this lawsuit, including attorneys’ fees or

 costs.

          5.       Aetna denies that eHealth is entitled to any of the relief sought against Aetna in its

 prayer paragraph, and requests that the Court deny all such relief against Aetna in its entirety and

 with prejudice.

                                                  II.
                                               DEFENSES

          In further answering eHealth’s Crossclaim, Aetna pleads the following defenses and/or

 affirmative defenses, without admitting that Aetna would bear the burden of proof on any of the

 following:

                                  FIRST AFFIRMATIVE DEFENSE

          1.       eHealth has failed, in whole or in part, to take appropriate actions to mitigate its



 AETNA’S ANSWER TO EHEALTH’S CROSSCLAIM              2
Case
   Case
     4:15-cv-00430-ALM-CAN
         4:17-cv-00240-ALM Document
                            Document3 68Filed
                                           Filed
                                              04/10/17
                                                 03/15/16Page
                                                           Page
                                                              3 of3 5ofPageID
                                                                        5 PageID
                                                                              #: #:
                                                                                 37 918



 damages, if any.

                               SECOND AFFIRMATIVE DEFENSE

           2.    eHealth’s claim is barred, in whole or in part, by the doctrines of estoppel,

 ratification, waiver, or release.

                                THIRD AFFIRMATIVE DEFENSE

           3.    Aetna denies that eHealth has met all conditions precedent to bringing this claim.

                               FOURTH AFFIRMATIVE DEFENSE

           4.    The claims asserted by the Plaintiff, which give rise to eHealth’s claim, do not

 arise from any conduct by Aetna, but instead arise, if at all, out of the conduct, acts, and/or

 omissions of Plaintiff and/or eHealth, and such conduct, acts and/or omissions operate as the sole

 proximate and/or producing cause of Plaintiff’s allegations and all of the injuries and damages

 claimed by Plaintiff and by eHealth.

                                FIFTH AFFIRMATIVE DEFENSE

           5.    eHealth’s claim is barred in whole or in part because of eHealth’s actual

 knowledge and/or negligence.

           6.    Aetna reserves the right to assert any other defenses that discovery may reveal.

           WHEREFORE, Aetna respectfully prays that on final hearing hereof, the Court enter

 judgment that eHealth take nothing by way of its claim against Aetna; that Aetna receive

 judgment for and recover all costs of suit and attorneys’ fees and costs; and for such other and

 further relief, general or specific, to which Aetna may be justly entitled, either at law or in

 equity.




 AETNA’S ANSWER TO EHEALTH’S CROSSCLAIM           3
Case
   Case
     4:15-cv-00430-ALM-CAN
         4:17-cv-00240-ALM Document
                            Document3 68Filed
                                           Filed
                                              04/10/17
                                                 03/15/16Page
                                                           Page
                                                              4 of4 5ofPageID
                                                                        5 PageID
                                                                              #: #:
                                                                                 38 919



 Dated: March 15, 2016                    Respectfully submitted,



                                          BAKER BOTTS L.L.P.

                                          By: s/ Earl B. Austin
                                             Earl B. Austin - Lead Attorney
                                             Texas Bar No. 01437300
                                             30 Rockefeller Plaza
                                             New York, New York 10112
                                             (212) 408-2564
                                             (212) 259-2564 fax
                                             earl.austin@bakerbotts.com

                                             John B. Lawrence
                                             Texas Bar No. 24055825
                                             2001 Ross Avenue, Suite 600
                                             Dallas, Texas 75201
                                             (214) 953-6873
                                             (214) 661-6873 fax
                                             john.lawrence@bakerbotts.com

                                            Counsel for Defendant
                                            Aetna Life Insurance Company




 AETNA’S ANSWER TO EHEALTH’S CROSSCLAIM      4
Case
   Case
     4:15-cv-00430-ALM-CAN
         4:17-cv-00240-ALM Document
                            Document3 68Filed
                                           Filed
                                              04/10/17
                                                 03/15/16Page
                                                           Page
                                                              5 of5 5ofPageID
                                                                        5 PageID
                                                                              #: #:
                                                                                 39 920



                                CERTIFICATE OF SERVICE

        I hereby certify that on March 15, 2016, a true and correct copy of the foregoing was

 served on all counsel of record via the Court’s ECF system.

                                                    s/ Earl B. Austin           .
                                                    Earl B. Austin




 AETNA’S ANSWER TO EHEALTH’S CROSSCLAIM         5
